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                           Gennesis Claro, BS, PSMFS                                  Forensic Chemist
                           Department of Justice                                      South Central Laboratory
                           Drug Enforcement Administration                            Dallas, TX
                           Office of Forensic Science



                                                AREA OF EXPERTISE

Forensic Discipline

          Seized Drugs

Expert Testimony

               Western District of Texas, 2022, U.S.A vs. Johnny Lee Sisco – EP 21 CR 1276 KC
               Western District of Texas, 2022, U.S.A vs. Rivas Camacho, MO: 21-CR-247-02

                                          PROFESSIONAL EXPERIENCE


 DRUG ENFORCEMENT ADMINISTRATION
 Forensic Chemist , South Central Laboratory, Dallas, Texas, 2020 – Present

             Conduct tests to identify the presence or absence of a controlled substance in a laboratory setting
             Assist law enforcement in clandestine laboratory seizures and trace evidence collection
             Perform court testimony on the various findings

   Training
                 DEA Academy for Forensic Chemists (Quantico, VA), 2020

DRUG ENFORCEMENT ADMINISTRATION
Physical Science Technician, South Central Laboratory, Dallas, Texas, 2019 – 2020

             Performed qualitative and quantitative analysis on standard solutions for chemists to complete
              evidentiary lot drug analysis
             Assisted on method validations for specific drug identification on analytical instrumentation to include
              gas chromatography using flame ionization detection (GC-FID), mass selective detector (GC-MSD), gas
              chromatography infrared detection (GC- IRD) and high-performance (HPLC) and ultra-high-performance
              (UPLC) liquid chromatography
             Conducted routine monthly checks and calibrations on modern analytical techniques and instrumentation
              including making minor repairs on instruments including analytical balances, hydrogen generators,
              nitrogen generators, and water purification systems
             Developed advanced knowledge in theory and use of laboratory instruments to interpret data generated
             Performed reverifications of color test reagents, reference materials and quality control solutions to test
              validity of controlled substance
             Pioneered Quality Assurance team to ensure overall standardization of chromatographic techniques,
              explain technical ideas, resolve issues, and maintain laboratory best practices and efficiency
             Created technical laboratory reports of analytical data generated from instrumentation for quality
              purposes
             Participated in expert witness testimony training and moot court to practice presenting technical
              testimony in layman’s terms to federal and state courts
             Served as point of contact for chemists in order to explain and summarize requests on analytical
              instrumental matters



                                                                                                      Exhibit 1A-1
                                                                                              Page 1 of 2 (01/10/2023)
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 Training
              DEA South Central Laboratory – New Analytical Scheme for the Analysis of Cannabis – Dallas, TX,
              2019
              DEA South Central Laboratory – Physical Science Technician In-House Training – Dallas, TX, 2019

              DEA South Central Laboratory - How to Combat the Helium Shortage: Making the Switch from Helium
              to Hydrogen or Nitrogen Carrier Gas – Dallas, TX, 2019


Albemarle Corporation
Quality Control Laboratory Technician, North Carolina - Laboratory, Kings Mountain, North Carolina, 2018 - 2019

          Inspected lithium hydroxide liquor samples, finished products, and lithium brines for purity and/or
           contaminants to determine if the products meet specific standards in accordance to their respective
           companies' needs
          Conducted various routine chemical analysis on lithium samples including steam distillation, inductively
           coupled plasma - mass spectrometry (ICP-MS) analysis, purification, titrations and qualitative colorimetric
           testing
          Performed daily maintenance and calibrations on analytical instrumentation and devices
          Reported imperfections of samples, complied data in laboratory reports and interpreted analytical data
           for further inspection
Training
              Albemarle Corporation Laboratory, Quality Control Technician In – House Training, Kings Mountain,
              NC, 2018

DRUG ENFORCEMENT ADMINISTRATION
Research Intern, Special Testing and Research Laboratory, Dulles, Virginia, 2017 – 2017

          Formulated graduate research project for quantitation and qualitative chemical analysis of fentanyl and
           fentanyl related compounds for intelligence purposes
          Improved analytical chemistry techniques on modern scientific instrumentation: GC-MS, LC-MS, NMR,
           FTIR, isotope ratio mass-spectrometry (IR-MS)
          Performed analysis and discovered unknown controlled substances using standardized methods


                                                   EDUCATION

Florida International University, Miami, FL

               Professional Science Masters of Forensic Science, 2017


Unversity of North Carolina – Wilmington, Wilmington, NC

               Bachelor’s of Science – Chemistry, 2015

                                    PRESENTATIONS AND LECTURES

  Attendee - DEA Academy – Office of Training, Forensic Sciences Seminar – Administrating Laboratory Quality
                                           Group Activities, Quantico, VA, 2020

                                                 PUBLICATIONS
  Casale, F. John, Mallette R. Jennifer, Claro, Gennesis, Hays A. Patrick. Synthesis and Characterization of
           Benzoylfentanyl and Benzoylbenzylfentanyl. Microgram Journal 2018; 15(1-4):1-8.

                                                                                                   Exhibit 1A-2
                                                                                           Page 2 of 2 (01/10/2023)
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                                                           Exhibit 1B-1
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                                                           Exhibit 1B-2
                                 Case 9:23-cr-00014-DWM Document 17-1 Filed 03/23/23 Page 5 of 8


                              U.S. Department of Justice                                                                                           Western Laboratory
                              Drug Enforcement Administration                                                                                      Pleasanton, CA



                                                                                                                                                                Chemical Analysis Report
HSI - Kalispell                                                                                                         Case Number: 2022332400005801
2 Main Street, Suite 206                                                                                                LIMS Number: 2022-SFL7-04532
Kalispell, MT 59901


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity              Amount Pure Substance
        3                            Methamphetamine Hydrochloride                                        29.45 g ± 0.01 g                         98% ± 6%                     28.86 g ± 1.78 g

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Supplemental report to reflect analysis. Refer to original laboratory report dated 09/26/2022.

All analyses were completed at the South Central Laboratory, Dallas, TX.

Exhibit Details:
Date Accepted by Laboratory: 09/07/2022                                        Gross Weight: 44.3 g                                                    Date Received by Examiner: 09/30/2022

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                             Reserve Wt.
3                                     1                          Ziplock Plastic Bag                               Crystalline                                            29.04 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Methamphetamine identified in the composite. Salt form determined
from testing the composite.

Exhibit           Summary of Test(s)
3                  Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy
Exhibit           Purity Test(s)
3                 DEA 503/UV-Vis Spectroscopy




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Gennesis Claro, Forensic Chemist                                                                                                            Date: 10/06/2022
Approved By: /S/ Darrell W. Eubank, Senior Forensic Chemist                                                                                                  Date: 10/07/2022

DEA Form 113 August 2019                                                                                                                                                                      Page 1 of 1

                                                                                                       103                                                                Exhibit 1C-1
                                                CaseDocument
                             Case 9:23-cr-00014-DWM  Details17-1
                                                              Report
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» I.A. Case #:            2022332400005801 / LIMS Case #: 2022-SFL7-04532

Investigating Agency: HSI - Kalispell

# of I.A. Exhibits: 1                                                 # of Lab Exhibits: 1



    Exhibit #     Lab Ex #                                              Lab Exhibit Description                                                       Container
        3            3       ZPB with a white crystalline substance                                                                                SSEE (2162350)


Summary of Findings                                                                                                                        Analyst: GCLARO (2022.10.06)

Findings
Exhibit                                             Gross Wt                    Net Wt (Reported)                   Net Wt               Reserve Wt        Retained Wt

3                                                     44.3 g                     29.45 g ± 0.01 g            29.453 g ± 0.01096 g           29.04 g

            Constituent                                                   Purity                    APD (Reported)                                 APD
            Methamphetamine Hydrochloride                               98% ± 6%                    28.86 g ± 1.78 g                    28.861 g ± 1.77526 g




Gross Weight                                                                                                                               Analyst: GCLARO (2022.09.30)
Equipment : DEA 361257
Gross Weight (Reported)                                   43.5 g

Gross Weight (Actual)                                     44.3 g

Gross Weight (delta)                                      0.8 g

Gross Weight (delta %)                                    1.81 %

Weight Discrepancy                                        No

Remarks                                                   No Remarks




Description of Evidence                                                                                                                    Analyst: GCLARO (2022.10.06)

Seals                                                     Intact

Date Opened                                               2022-10-04

Description                                               1 SSEE containing 1 clear ZPB with a white crystalline material.

Consistent With Paperwork?                                Yes

Remarks                                                   No Remarks




Description of Exhibit and Sampling                                                                                                        Analyst: GCLARO (2022.10.06)

Number of Packages                                        1 unit

Number of Units                                           1 unit

Package Type                                              Ziplock Plastic Bag

Logo/Impression                                           No

Gross Form                                                Crystalline

Dry/Moist                                                 Dry

Exemplar                                                  No

Number of Units Tested                                    1 unit

Sampling Procedure                                        Using Option 1, a composite was formed from 1 unit out of 1 unit received by grinding,
                                                          sieving through 20 mesh and mixing thoroughly. The composite was tested using GC-MS
                                                          and FTIR. Additional portions used for quantitation.
Deviation from Sampling Plan                              No
Remarks                                                   No Remarks




                                                                                                                                        Exhibit 1D-1
» I.A. Case #:             Case 9:23-cr-00014-DWM Document 17-1 Filed 03/23/23 Page 7 of 8
                        2022332400005801 / LIMS Case #: 2022-SFL7-04532

 Exhibit #     Lab Ex #                                               Lab Exhibit Description                                                      Container
      3            3       ZPB with a white crystalline substance                                                                               SSEE (2162350)


Net Weight                                                                                                                                 Analyst: GCLARO (2022.10.06)
Equipment : DEA 361274
Residue                                                 No

Type of Weighing                                        Direct Weighing

Net Weight                                              29.45 g

Net Weight Uncertainty                                  0.01 g

Remarks                                                 Using the original packaging, the net weight was determined using the Direct Full to
                                                        Empty method.
Use Legacy Calculator                                   No




GC-MS Analysis : Run # 1 - Set # 1 Blank                                                                                                   Analyst: GCLARO (2022.10.06)
Equipment : DEA 361472
Negative Control Run                                    Yes

Negative Control Type                                   Instrumental/Solvent

Negative Control Result                                 Pass

Solvent                                                 Blank base extracted using NaOH into CHCl3

Remarks                                                 No Remarks




GC-MS Analysis : Run # 1 - Set # 2 Composite                                                                                               Analyst: GCLARO (2022.10.06)
Equipment : DEA 361472
Negative Control Run                                    No

Sample Weighed                                          No

Solvent                                                 Sample base extracted using NaOH into CHCl3

Retention Time Matching                                 No

Remarks                                                 No Remarks


Spectral Result
Constituent                                                         Comments
Methamphetamine Hydrochloride, Isomer                               ---
Undetermined




FTIR Analysis : Run # 1 - Set # 1 Blank                                                                                                    Analyst: GCLARO (2022.10.06)
Equipment : DEA 361424
Negative Control Run                                    Yes

Background                                              Pass

Negative Control Type                                   Instrumental

Negative Control Result                                 Pass

Remarks                                                 No Remarks




FTIR Analysis : Run # 1 - Set # 2 Composite                                                                                                Analyst: GCLARO (2022.10.06)
Equipment : DEA 361424
Negative Control Run                                    No

Sample Prep                                             Direct

Remarks                                                 No Remarks


Spectral Result
Constituent                                                         Comments
Methamphetamine Hydrochloride, Isomer                               ---
Undetermined




                                                                                                                                         Exhibit 1D-2
» I.A. Case #:               Case 9:23-cr-00014-DWM Document 17-1 Filed 03/23/23 Page 8 of 8
                          2022332400005801 / LIMS Case #: 2022-SFL7-04532

 Exhibit #        Lab Ex #                                             Lab Exhibit Description                                                       Container
      3               3      ZPB with a white crystalline substance                                                                                SSEE (2162350)


Quantitation : Run # 1 - Set # 1 Blank                                                                                                      Analyst: GCLARO (2022.10.06)
Equipment : DEA 1003287-6SFL7, DEA 361235
Type                                                      Blank

Method                                                    DEA 503/UV-Vis Spectroscopy

Remarks                                                   No Remarks
QC Low Result                                             N/A

QC High Result                                            N/A




Quantitation : Run # 1 - Set # 2 Composite                                                                                                  Analyst: GCLARO (2022.10.06)
Equipment : DEA 1003287-6SFL7, DEA 361235
Type                                                      Sample

Method                                                    DEA 503/UV-Vis Spectroscopy

Dilution Technique                                        Volumetric

Sample Prep - Sample Weight (LabX)                        133.1 mg

Sample Amount (Instrument)                                133.1 mg

Sample Prep - Initial Volume                              50 mL

Sample Prep - Volume Transferred                          1 mL

Sample Prep - Final Volume                                1 mL

Sample Prep - Dilution Factor                             50 mL

Dilution Factor                                           50 mL

Remarks                                                   No Remarks


Quantitation
Constituent                                                       RT                  Area                      Height                 Width               Purity
Methamphetamine, Isomer & Salt                                                       0.0000                      0.0000                 0.000              98.350
Undetermined

QC Low Result                                             100.73

QC High Result                                            101.59




Reserve Weight                                                                                                                              Analyst: GCLARO (2022.10.06)
Equipment : DEA 361274
Residue?                                                  No

Type of Calculation                                       No Calculation

Reserve Weight                                            29.04 g

Remarks                                                   Reserve weight was determined using the original packaging utilizing the Reserve Net F
                                                          With Previous Weighing method.



Description of Reserve Evidence                                                                                                             Analyst: GCLARO (2022.10.06)

Description                                               Composited white powdery material within 1 original ZPB which was heat sealed.

                                                          1 ZPB within 1 original SSEE which was heat sealed and signed.
Date Sealed                                               2022-10-06

Remarks                                                   No Remarks




Gross Weight After Analysis                                                                                                                 Analyst: GCLARO (2022.10.06)
Equipment : DEA 361257
Gross Weight After Analysis                               44.3 g

Remarks                                                   No Remarks




                                                                                                                                           Exhibit 1D-3
